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   8
   9                         UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA
  10                              SOUTHERN DIVISION
  11 SERENA FLEITES,                          CASE NO. 2:21-CV-04920-CJC-ADS
  12          Plaintiff,                      Judicial Officer: Autumn Spaeth
                                              Courtroom: 6B
  13         v.                               DISCOVERY DOCUMENT:
                                              REFERRED TO MAGISTRATE
  14 MINDGEEK S.A.R.L.; MG                    JUDGE AUTUMN D. SPAETH
     FREESITES, LTD; MINDGEEK
  15 USA INCORPORATED; MG                     PLAINTIFF’S OPPOSITION TO
     PREMIUM LTD.; MG GLOBAL                  MINDGEEK S.A.R.L.’S EX PARTE
  16 ENTERTAINMENT INC.; 9219-                APPLICATION FOR PROTECTIVE
     1568 QUEBEC, INC.; BERND                 ORDER RELATED TO PLAINTIFF’S
  17 BERGMAIR; FERAS ANTOON;                  RULE 30(b)(6) DEPOSITION NOTICE
     DAVID TASSILLO; COREY
  18 URMAN; VISA INC.; COLBECK
     CAPITAL DOES 1-5;                        Jurisdictional Discovery Cutoff:
  19 BERGMAIR DOES 1-5
                                              June 16, 2023
  20                Defendants.
  21
  22
  23
  24
  25
  26
  27
  28
                                                                 CASE NO. 21-CV-04920-CJC-ADS
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   1                                    INTRODUCTION
   2         In seeking to dismiss Plaintiff’s complaint for lack of personal jurisdiction,
   3 the MindGeek Entity Defendants submitted the declaration of Andreas Alkiviades
   4 Andreou (the “Andreou Declaration”), which stated, under oath, that each of the
   5 MindGeek entities is adequately capitalized, maintain separate financials, functions,
   6 and managements, and that, to the extent one entity provides services to another,
   7 those services are renumerated pursuant to third party transfer pricing analyses.
   8 (Dkt. 139-3). By Order dated July 29, 2022, Judge Carney concluded that the
   9 Andreou Declaration is “rather conclusory and repetitive” and directed MindGeek to
  10 submit to jurisdictional discovery to determine whether the MindGeek entities did
  11 maintain separate corporate form as MindGeek declared under oath, or whether the
  12 entities were alter egos of each other. The Court identified the following questions,
  13 among others, as relevant to its determination: (1)“who owns Pornhub”; (2) “where
  14 the money flows in the MindGeek web”; (3) which entities or individuals exercise
  15 operational control over the MindGeek entities that monetized Plaintiff’s child
  16 sexual abuse materials (“CSAM”); and (4) which individuals were responsible for
  17 MindGeek’s policies and procedures concerning CSAM and other illegal content.
  18 (Dkt. 167 at 3-5). Plaintiff’s 30(b)(6) notice is tailored to answer Judge Carney’s
  19 questions.
  20         MindGeek concedes that Plaintiff’s timely served a 30(b)(6) deposition notice
  21 on MindGeek S.A.R.L. in August 2022 for testimony concerning MindGeek’s past
  22 and present corporate ownership and organizational structure and the identities of
  23 past and present owners or holders of any economic interest in the company. (Dkt.
  24 347 at 2-3.) And they have agreed to designate a corporate representative to testify
  25 concerning each of the statements in the Andreou Declaration. (Dkt. 347 at 3.)
  26 Nevertheless, MindGeek asserts a blanket objection to the remainder of the topics in
  27 Plaintiff’s May 23, 2023 amended 30(b)(6) notice (the “Notice”) claiming they are
  28 overbroad, irrelevant to jurisdictional discovery, and untimely. Each of these
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   1 challenges fails.
   2         First, the topics MindGeek challenges are largely subsumed in the prior, more
   3 general topics Plaintiff served in August 2022, which MindGeek has agreed to
   4 produce a witness to testify to. The challenged topics also seek information directly
   5 related to the sworn statements in the Andreou Declaration, which MindGeek has
   6 agreed to provide testimony on. Thus, the amended Notice is not overbroad; to the
   7 contrary it provides MindGeek with more specificity as to the categories of
   8 information Plaintiff intends to examine its corporate designee based on Plaintiff’s
   9 subsequent review of defendants’ document productions, sworn interrogatory
  10 responses, and the parties’ numerous meet and confers leading up to the noticed
  11 deposition date.
  12         Second, the 30(b)(6) topics are directly relevant to the Court’s jurisdictional
  13 analysis. Each of the topics is tailored to ascertain the factual bases for the sworn
  14 statements in the Andreou Declaration and/or to answer the questions posed by this
  15 Court in the July 29, 2022 Order. Moreover, each of the topics seeks information that
  16 has been the subject of numerous prior meet and confers, motions, Court conferences,
  17 and Orders. Not only has this Court repeatedly held these issues are directly relevant
  18 to jurisdictional discovery (see, e.g., Dkt. 211, Dkt. 260), counsel for MindGeek
  19 invited Plaintiff, in open Court, to depose Mr. Andreou on the statements in his
  20 affidavit, and did so again during a subsequent meet and confer.
  21         Finally, defendants’ claim that the notice is untimely and there is insufficient
  22 time to prepare is equally without merit. After defendant served its objections to the
  23 Amended Notice, Plaintiff initiated a meet and confer to discuss any questions or
  24 clarifications about the topics and continues to be willing to do so, but defendant
  25 refused to engage in that process and instead asserted that the Amended Notice was
  26 too late and the topics too broad to be cured by discussion or time. Leaving aside that
  27 defendants have been on notice of the general topics plaintiff seeks testimony on since
  28 August 2022, defendants concede that Mr. Andreou is their head of finance, he
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   1 previously submitted a sworn affidavit concerning many of the topics defendants now
   2 object to, would be the appropriate witness to testify to these topics and is prepared
   3 to talk about several of the finance topics in his personal capacity. Plaintiff also
   4 offered to provide Defendant more time to prepare, or to designate a different witness
   5 on certain topics, but Defendant declined these offers, too.
   6           Under these circumstances, Defendant cannot demonstrate that Plaintiff’s
   7 Amended Notice was untimely or is otherwise overbroad, and therefore cannot carry
   8 its burden to show that prejudice or harm would result if no protective order were
   9 granted. See Younger Mfg. Co. v. Kaennon, Inc., 247 F.R.D. 586, 588 (C.D. Cal.
  10 2007) (“For good cause to exist, the party seeking protection bears the burden of
  11 showing specific prejudice or harm will result if no protective order is granted.”)
  12 (citing Phillips ex rel. Estates of Byrd v. General Motors Corp., 307 F.3d 1206, 1210
  13 (9th Cir. 2002)).
  14           Accordingly, the Court should deny MindGeek’s motion in its entirety.
  15      I.      THE NOTICED TOPICS ARE PROPER AND RELEVANT
  16              TO JURISDICTIONAL DISCOVERY.
  17           Defendants’ challenge 15 of the 19 topics in the Amended Notice. Each of
  18 these topics is directly relevant to the questions posed by the Court’s July 29 Order
  19 or the sworn statements made by MindGeek in support of its motion to dismiss for
  20 lack of personal jurisdiction:
  21
  22    Topic                     Topic Description                                  Nexus
  23      No.
                   The identity of any past or present, direct, indirect,
  24    No. 1      or beneficial owners, shareholders, limited or general          Unopposed
  25               partners, lenders, secured parties, or holders of any
                   other economic interest in MindGeek.
  26
                   The organizational charts, financial statements and
  27    No. 2      records, financial reporting packages, transfer cost     Andreou Declaration ¶¶ 2,
                   pricing analyses or other affiliate or related party              3, 4, 9
  28
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   1             transaction analyses, tax filings or advice, bank and
                 investor presentations, transaction documents,
   2             shareholder agreements, corporate formation,
   3             governance, and other records, and Grant Thornton
                 documents produced in this action.
   4
                 Payments, compensation, distributions, dividends,
   5    No. 3    services or any other thing of value provided to or           Andreou Declaration ¶¶ 2,
                 received by any direct, indirect or beneficial owners,             3, 4, 9, 19, 34;
   6             shareholders, limited partners, or holders of any other
   7             economic interest in MindGeek or their family; any                  Dkt. 167, n.2
                 contracts, documentation, or other information
   8             reflecting the rights and obligations pursuant to which
                 such thing of value was provided and its calculation;
   9             the entities obligated to, and which actually provided
                 any such thing of value; the source of any funds used
  10
                 to make or provide such things of value; the original,
  11             final, and any intermediary bank accounts from which
                 those payments were sourced; and the categories,
  12             locations, and custodians of documents and
                 information related to such topics.
  13
  14             The past or present corporate and ownership
         No. 4   organization and structure of MindGeek, including                    Unopposed
  15             the identities of all affiliated or related party entities,
                 corporations, limited partnerships, limited liability
  16             companies, partnerships, or other entities; the nature
                 of the direct, indirect or beneficial ownership or
  17             other interests held by any such person, entity, or
  18             organization; and the owners, members, directors,
                 managers, lenders, secured parties, general or limited
  19             partners, executives, and outside law firms and
                 accountants of such entities.
  20
                 The factual bases for each claim in the Declaration of
  21     No. 5   Andreas Andreou and the categories, locations, and            Andreou Declaration ¶¶ 2,
  22             custodians of documents and information related to                     3, 4, 9;
                 such topics.
  23
                 The roles of the Individual Defendants in
  24     No. 6   MindGeek’s policies, practices, procedures and                    Dkt. 167, at 4, 5.
                 business operations.
  25
  26             The annual revenues, costs and expenses, profits, and
         No. 7   losses for each MindGeek Entity; how such revenues            Andreou Declaration ¶¶ 2-
  27             and profits were earned, used, distributed, and taxed;         4, 9, 11, 15, 26, 30, 34;
                 for what any such costs and expenses were incurred;
  28             the party to whom such costs and expenses were
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   1              obligated to be paid, the source of any funds used to
                  pay such costs and expenses; the original, final, and           Dkt. 167, n.2
   2              any intermediary bank accounts from which such cost
   3              or expense payments were sourced; and the
                  categories, locations, and custodians of documents
   4              and information related to such topics.

   5              Intercompany transactions and related party
         No. 8    transactions that any MindGeek Entity or its affiliates   Andreou Declaration ¶¶ 2-
   6              engaged in; any contracts, documentation, or other         4, 9, 11, 15, 26, 30, 34;
   7              information reflecting the rights and obligations
                  pursuant to which such transactions took place; the             Dkt. 167, n.2
   8              calculation and its underlying basis for any
                  consideration associated with such transactions; the
   9              source of any funds used to provide anything of value
                  in such transactions; the original, final, and any
  10
                  intermediary bank accounts from which any
  11              associated payments or credits were sourced; and the
                  categories, locations, and custodians of documents
  12              and information related to such topics.
  13              Payments made by any MindGeek or any related
         No. 9    party to BW Bulknet Ltd., Zoellik Corporation,            Andreou Declaration ¶¶ 2-
  14
                  Somerset Capital Limited, Bright Imperial Limited,           4, 9, 10, 11, 12-20;
  15              NeuStar, Inc., Reflected Networks, Inc., Swiftwill,
                  Inc., Amazon Web Services, Inc., Google Inc., any               Dkt. 167, n.2
  16              other entity or person paid for website operating
                  expenses, or any other entity or person in which any
  17              individual defendant or their family had an
  18              ownership or economic interest; any contracts,
                  transfer pricing analyses or other documentation
  19              establishing the basis upon which such payments
                  were calculated; the source of any funds used to
  20              provide anything of value in such transactions; the
                  original, final, and any intermediary bank accounts
  21              from which any associated payments or credits were
  22              sourced; and the categories, locations, and
                  custodians of documents and information related to
  23              such topics.

  24              The amounts paid to MG Ex-US Holding S.a.r.l., IP
         No. 10
                  Licensing S.a.r.l., or any MindgGeek entity or related    Andreou Declaration ¶¶ 2,
  25              party in licensing, royalty, or equivalent fees; any           3, 4, 9-11, 15;
  26              contracts, documentation, or other information related
                  to those payment amounts and the basis upon which               Dkt. 167, n.2
  27              they were calculated and made; the entity incurring
                  those payment obligations; the contracts under which
  28              such obligations arose; the method and underlying
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   1              basis used to calculate those amounts; the source of
                  funds used to pay those amounts, including the
   2              original, final, and any intermediary bank accounts
   3              from which those funds were paid; and the categories,
                  locations, and custodians of documents and
   4              information related to such topics.

   5              All holders of any economic interest in Acaju
        No. 11 Investments S.A., Coginvest S.A., Share Investments Andreou Declaration ¶¶ 2,
   6           S.A., Cartwright II SARL, Bright Imperial Limited,       3, 4, 9-11, 15;
   7              and Somerset Capital Limited; the rights and
                  economic interests of holders of such interests in               Dkt. 167, n.2
   8              those entities; any contracts, documentation, or other
                  information reflecting the basis for such rights and
   9              interests and the valuation of any payments under
                  those rights and interests; the entities obligated to,
  10
                  and which did make, any such payments; the method
  11              used to calculate any such payments; the source of
                  funds used to make such payments, including the
  12              original, final, and any intermediary bank accounts
                  from which those payments were sourced; and the
  13              categories, locations, and custodians of documents
                  and information related to such topics.
  14
  15              MindGeek’s and each of the Individual Defendants’
        No. 12 1 past or present jurisdictional contacts with the United Andreou Declaration ¶¶ 7,
  16             States or California. These contacts would include       9, 11, 14, 18, 20, 22, 25,
                  but are not limited to, offices, residences, real estate,
  17              internet servers, data centers, or infrastructure located           27, 33,
  18              in these jurisdictions; people or entities that provided
                  services or infrastructure, including payment                    Dkt. 167, n.3
  19              processing, sales or resale, web or IT services or
                  infrastructure, financial, political or media relations,
  20              or any agency services in these jurisdictions; revenues
                  derived from, costs incurred from, taxes owed in these
  21              jurisdictions; any technology or web infrastructure or
  22              services located in these jurisdictions; and the
                  categories, locations, and custodians of documents
  23              and information related to such topics, including the
                  policies, practices, and procedures governing the
  24              preservation of documents and information
  25
     1
       Defendants allege that this Court ruled Topic 12 is outside the scope of
  26 jurisdictional discovery, Dkt. 347 at 14. But this is not the Case. The Court ordered
  27 defendants to produce documents showing the location of servers and technology
     centers used to store and transmit documents and only excluded documents that
  28
     would explain how the IT infrastructure operates and functions.
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   1
                 MindGeek’s policies, manuals, practices, processes,
   2    No. 13 and rules for moderating, monitoring, formatting,                Dkt. 167, at 5.
   3             optimizing, filtering, reviewing, screening or
                 removing content on its platform and websites; the
   4             individuals involved in setting, implementing, and
                 reviewing those policies, manuals, processes, and
   5             rules practices; the implementation and compliance
                 with same; the preservation, storage, and storage
   6             location of any content removed from MindGeek’s
   7             platform and websites by MindGeek employees or
                 personnel, and the categories, locations, and
   8             custodians of documents and information related to
                 such topics, including the policies, practices, and
   9             procedures governing the preservation of documents
                 and information
  10
  11             Internal or external review of MindGeek’s content for
        No. 14 CSAM, non-consensual, prohibited or illegal content.             Dkt. 167, at 5.
  12
                 The 2013 Management Buyout and related financing,
  13    No. 15 the 2018 financing, and the reported 2023 sale of the Andreou Declaration ¶¶ 2-
  14           MindGeek Defendants’ business.                                4, 6-7.
  15             The moderation, optimization, dissemination,
        No. 16 monetization, and removal of Ms. Fleites content on              Dkt. 167, at 5.
  16             MindGeek’s tubesites and all communications
                 concerning the same.
  17             The identity and location of persons likely to have
        No. 17   knowledge of the foregoing topics.                              Unopposed
  18
  19             MindGeek’s     document     retention    policies   and
        No. 18 practices; the steps taken to preserve documents and Andreou Declaration ¶¶ 2,
  20           information potentially relevant to this or any other        3, 4, 9;
                 litigation or investigation; the steps taken to locate
  21
                 and produce documents and information in response
  22             to Plaintiff’s document preservation letter and
                 discovery requests or any other litigation or
  23             investigative preservation notice, subpoena, or
                 information request; and documents and information
  24             responsive to those requests that once existed but no
  25             longer does and, if so, why.

  26             The steps taken to remove all unverified content from
        No. 19 MindGeek’s internet platforms in or about December               Dkt. 167, at 5.
  27             2020.
  28
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   1         MindGeek argues that corporate designee testimony on the challenged topics
   2 will be duplicative of testimony from the Individual Defendants concerning their
   3 roles in the company and the other discovery produced in this action. (Dkt. 347 at
   4 11). But it is black letter law that “Rule 30(b)(6) depositions are fundamentally
   5 different from depositions of individuals,” and it is not “unreasonably cumulative or
   6 duplicative” for Plaintiff to seek “witness testimony that may include testimony
   7 explaining answers to interrogatories or the meaning of documents previously
   8 produced.” Cedars-Sinai Med. Ctr. v. Quest Diagnostics, Inc., No. CV 17-5169 CW
   9 (FFMX), 2019 WL 12520126, at *2 (C.D. Cal. Apr. 1, 2019); Ho v. Marathon Pat.
  10 Grp., Inc., No. 521CV00339PSGSPX, 2021 WL 10862799, at *2 (C.D. Cal. Nov. 9,
  11 2021) (“A Rule 30(b)(6) deposition differs from a fact witness deposition in that the
  12 designated witness ‘testifies as a representative of the entity, his answers bind the
  13 entity and he is responsible for providing all the relevant information known or
  14 reasonably available to the entity.’” (citing La. Pac. Corp. v. Money Mkt. 1
  15 Institutional Inv. Dealer, 285, F.R.D. 481, 487 (N.D. Cal. 2012)). Defendants do
  16 not get to decide what documents and information are sufficient for Plaintiff to
  17 establish jurisdiction.
  18         MindGeek also argues that the topics concerning the company’s practices and
  19 operational policies that harmed Plaintiff, including those concerning content
  20 review, moderation, optimization, and related actions concerning the removal and
  21 reporting of offensive content or CSAM (Topic Nos. 12, 13, 14, and 19) are beyond
  22 the scope of jurisdictional discovery. (Dkt. 347 at 13-14). Not so. This Court
  23 concluded that “Plaintiff has alleged facts bearing on the MindGeek Individual
  24 Defendants direction of specific policies pursuant to which Plaintiff was harmed.”
  25 (Dkt. 167, at 7; see also id. at 5 (“[T]here are various allegations throughout the
  26 FAC that identify specific MindGeek policies or practices—which were applied to
  27 Plaintiff and her videos—that the MindGeek Individual Defendants allegedly
  28 directed or implemented.”)). The Court further explained that “[i]t is entirely
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  1 plausible that at least one of the MindGeek Individual Defendants—high up as they
  2 were in the MindGeek hierarchy—had substantial involvement in the practices and
  3 policies of one of MindGeek’s major lines of business that harmed Plaintiff.” (id. at
  4 7), and conclude that “operating Pornhub and other MindGeek sites in a manner that
  5 maximizes the profitability of child porn” would qualify as “[j]urisdictionally
  6 relevant conduct.” (Dkt. 167, at 3 n.2; see also id. at 5 n.5, Accordingly, Plaintiff
  7 properly seeks corporate designee testimony related to the adoption of policies and
  8 procedures concerning the handling of CSAM, and the Individual Defendants’ roles
  9 in controlling and directing the various MindGeek entities’ operations, particularly
 10 as it concerns search engine optimization (SEO) and CSAM, all of which the Court
 11 has held is relevant to its jurisdictional analysis. (Dkt. 167, at 7.)
 12 II.     PLAINTIFF’S NOTICE IS TIMELY, AND THERE IS NO PREJUDICE
 13         TO DEFENDANTS.
 14         Federal Rule of Civil Procedure 30(b)(1) provides that a party desiring to take
 15 the deposition of any person “must give reasonable written notice to every other
 16 party” stating the time and place of the deposition. Fed R. Civ. P. 30(b)(1). “What
 17 constitutes reasonable notice depends upon the circumstances of each case.” HBE
 18 Corp. v. Cummins Cal Pac., LLC, No. SACV1700520JLSJDEX, 2018 WL 6133630,
 19 at *1 (C.D. Cal. Jan. 4, 2018).
 20         Despite being on notice of Plaintiff’s intent to depose a 30(b)(6) witness from
 21 MindGeek S.A.R.L. since August 23, 2022, MindGeek argues that Plaintiff’s service
 22 of the Amended Notice “only 8 days prior to the date agreed to by the Parties” and
 23 only “three weeks before the conclusion of jurisdictional discovery.” (Dkt. 347 at 8)
 24 is untimely and prejudicial.        Putting aside Defendant’s previous and intimate
 25 knowledge of the topics identified in Plaintiff’s Amended Notice, eight days is more
 26 than reasonable notice for Defendants to prepare for the deposition. See Holloway v.
 27 3M Co., No. 19-cv-708, 2019 WL 7172600, at *24 (C.D. Cal. Oct. 31, 2019) (“While
 28 the seven days' notice for Reyes' deposition is fairly short, particularly because the
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  1 seven days includes a three-day holiday weekend, courts have found seven days
  2 reasonable, and Defendant failed to meet and confer regarding any alternative
  3 dates.”); U.S. v. Levin, No. 08-cr-00326, 2010 WL 2803961, at *3 (C.D. Cal. July 15,
  4 2010) (finding that while “six to ten days’ notice may seem like a relatively short
  5 period of time, given the facts of this case the Court concludes that the notice provided
  6 is reasonable”). 2
  7         Here, MindGeek cannot carry its “burden of showing specific prejudice or harm
  8 will result if no protective order is granted,” Phillips ex rel. Estates of Byrd v. Gen.
  9 Motors Corp., 307 F.3d 1206, 1210-11 (9th Cir. 2002), because it has long been on
 10 notice of the subject topics and routinely asserted to both the Court and Plaintiff that
 11 they would produce Mr. Andreou to discuss the subject topics. On November 16,
 12 2022, in opposing Plaintiff’s requests for the issuance of Letters Rogatory, the
 13 MindGeek Entity Defendants said they did not object to 30(b)(6) testimony
 14 concerning MindGeek’s “corporate structure and related financial issues as well as a
 15 deposition of [Mr. Andreou] who is Director of Corporate Finance.” Doyle Decl., Ex.
 16 1, Excerpt of Nov. 16, 2022 Hearing Transcript. During the parties’ March 16, 2023
 17 discovery meet and confer, which concerned, amongst other things, Plaintiff’s
 18 requests for information concerning MindGeek’s complicated organizational
 19 structure and financial accounting and distributions, counsel for the MindGeek
 20 Entities specifically represented to Plaintiff that we “asked for a 30(b)(6) and Mr.
 21 Andreas has an accounting background. So you could start by taking his deposition
 22
 23   2
        Indeed, other courts within this circuit “construe ‘reasonable notice’ to be five days,
 24   if the deposition notice does not require production of documents at the deposition.”
      Guzman v. Bridgepoint Educ., Inc., No. 11-0069-WQH WVG, 2014 WL 1670094, at
 25
      *2 (S.D. Cal. Apr. 28, 2014); see also Pac. Mar. Freight, Inc. v. Foster, No. 10-cv-
 26   578, 2013 WL 6118410, at *2 n.2. (S.D. Cal. Nov. 20, 2013) (“Commonly, courts
 27   find that notice of at least five days is sufficient for a party's deposition”); and Jones
      v. United States, 720 F.Supp. 355, 366 (S.D.N.Y.1989) (holding that eight days' notice
 28   was reasonable).
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  1 perhaps. I think he will be more helpful tha[n] I am on the companies [sic] financial
  2 statements.”    Doyle Decl., Ex. 2, Excerpt of Mar. 16, 2023 Meet and Confer
  3 Transcript.
  4         Conclusory or generalized assertions of undue burden are not a sufficient basis
  5 for issuing a protective order. United States v. HVI Cat Canyon, Inc., No. 11-cv-5097
  6 FMO (SSX), 2016 WL 11683593 at *5 (C.D. Cal. Oct. 26, 2016). The burden
  7 expressed here by MindGeek is no more than that recognized by courts as “merely
  8 the result of the concomitant obligation from the privilege of being able to use the
  9 corporate form in order to conduct business,” Id. at *6 (quoting United States v.
 10 Taylor, 166 F.R.D. 356, 362 (M.D. N.C. 1996). Absent evidence of the specific undue
 11 burden, no protective order should issue.
 12         MindGeek has failed to meet its burden. The very witness that defendant
 13 alleges cannot be prepared in time, is the same witness who has issued a detailed
 14 declaration in this matter on behalf of the corporate entity in support of that entity’s
 15 motion for dismissal for lack of personal jurisdiction and concerning many of the
 16 topics at issue on this motion. See Dkt. 70-2 and Dkt. 139-3. Moreover, Andreou has
 17 plainly acknowledged that he was the “Director of Corporate Finance” from 2013
 18 until his departure and “served as a Class A manager (the equivalent of a director) for
 19 MindGeek S.a.r.l. since 2016.” Dkt. 139-3 at ¶¶ 1-2. Given Andreou’s long-held and
 20 deep familiarity with MindGeek financial and organizational structure, and his
 21 position as director for MindGeek S.a.r.l., there is no reason he cannot be prepared
 22 for the deposition.
 23          Defendant relies upon United States v. HVI Cat Canyon, Inc., 11-cv-5097
 24 FMO (SSX), 2016 WL 11683593 (C.D. Ca. Oct. 26, 2016) for the proposition that
 25 Plaintiff’s Amended Notice is so overbroad that it is impossible to prepare for the
 26 deposition. (Dkt. 347 at 10) (“the breadth of the notice renders any meaningful
 27 exchange and proper preparation impossible”). But, unlike the situation in HVI,
 28 where the notice contained over 60 topics concerning highly detailed inquiries into
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  1 oil spills across 5 years and 12 covered facilities, and additional topics that would
  2 require experts and the input of attorneys, the Amended Notice here is limited to the
  3 very subjects of which Mr. Andreou has asserted expertise and knowledge or could
  4 otherwise very rapidly ascertain and understand the answers to based on his lengthy
  5 employment and experience as an officer in the company. “The reason for adopting
  6 Rule 30(b)(6) was not to provide greater notice or protections to corporate deponents,
  7 but rather to have the right person present at deposition.” Loop AI Labs Inc. v. Gatti,
  8 No. 15cv-00798, 2016 WL 913377 at *1 (N.D. Cal. Mar. 10, 2016) (citing King v.
  9 Pratt & Whitney, 161 F.R.D. 475, 476 (S.D. Fla. 1995). “A deposition notice is
 10 sufficiently particular when it is relevant to the underlying claims, covers a reasonable
 11 period of time, and is narrowly tailored.” Tumbling v. Merced Irrigation District, No.
 12 08-cv-1801, 2009 WL 5064994 (E.D. Cal. Dec. 16, 2009) (citing Astellas Pharma,
 13 Inc. v. Impax Laboratories, Inc., 2009 WL 2392166, *3 (N. D. Cal. 2009)).
 14         Mr. Andreou, has been at the forefront of this litigation and has affirmatively
 15 impugned Plaintiff’s allegations, referring to them as “baseless,” Dkt. 139-3 at ¶ 3,
 16 and calling her allegations regarding the financial operations of the MindGeek
 17 corporate entities “inaccurate and misleading.” Id. at ¶ 9. In his most recent
 18 declaration, Andreou affirmatively told this Court that “each change to the corporate
 19 structure was for a legitimate business purpose” and went on to briefly discuss the
 20 reasoning for the creation of MindGeek S.a.r.l. (Dkt. 139-3, ¶¶ 4-5). Presumably, this
 21 assertion required familiarity and knowledge of the inner workings and decisions
 22 made within the company. Similarly, Andreou told the Court that the Defendants
 23 each “has its own bank accounts,” that transfer pricing studies were used to determine
 24 price ranges for intercompany services to ensure proper tax accounting, and that the
 25 “MindGeek Defendants have not operated and do not operate as a single business
 26 entity but instead have existed and operated as distinct legal entities since before at
 27 least 2014.” Id. at ¶¶ 9-11.
 28         Despite his professed expertise regarding MindGeek’s organizational structure
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  1 and finances, Defendant now seeks to limit their witness’s testimony and thus
  2 preclude the Court from evaluating the very facts it instructed the parties to obtain.
  3 See Rodriguez v. SeaBreeze JetLev LLC, No. 20-cv-07073, 2022 WL 1117197 (N.D.
  4 Cal. Apr. 14, 2022) (granting motion to compel depositions and concluding that
  5 Defendants cannot claim that the need to prepare for the 30(b)(6) deposition is a
  6 “complete surprise” due to informal notice); see also HBE Corp. v. Cummins Cal
  7 Pac., LLC, No. SACV1700520JLSJDEX, 2018 WL 6133630 at*2 (“The Court also
  8 considers the history of the conduct of discovery in [the] case in assessing
  9 reasonableness.”); City of Colton v. Am. Promotional Events Inc., No.
 10 CV0501479JFWSSX, 2006 WL 8436705 (C.D. Cal. Sept. 21, 2006) (Finding that the
 11 corporation was arguably on notice as soon as it was made aware that the Plaintiff
 12 intended to take the 30(b)(6) deposition).
 13         Finally, MindGeek’s request for a protective order should also be denied
 14 because there is no emergency and any crisis is of Defendant’s own making. As set
 15 forth above, Defendants have had adequate notice. But in any event, Plaintiff offered
 16 to postpone the 30(b)(6) deposition by a week in the event that additional time was
 17 needed to prepare Mr. Andreou or another 30(b)(6) witness on the noticed topics. But
 18 Defendant has refused to provide a witness on the properly noticed topics despite this
 19 flexibility from Plaintiff. Plaintiff’s reasonable attempts to accommodate Defendant
 20 are further evidence that Defendant has “creat[ed] the crisis that requires ex parte
 21 relief.” Mission Power Eng’g Co. v. Continental Cas. Co., 833 F. Supp. 488, 491
 22 (C.D. Cal. 1995); see HBE Corp. v. Cummins Cal Pac., LLC, No.
 23 SACV1700520JLSJDEX, 2018 WL 6133630, (C.D. Cal. Jan. 4, 2018) (Denying a
 24 protective order where Defendant refused Plaintiff’s proposal to delay the 30(b)(6)
 25 deposition by ive days to allow more time for preparation), Rodriguez v. SeaBreeze
 26 JetLev LLC, No. 20-cv-07073, 2022 WL 1117197 (N.D. Cal. Apr. 14, 2022)
 27 (Granting a motion to compel where Plaintiff’s counsel offered to “accommodate
 28 reasonable schedule changes.”).
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  1                                       CONCLUSION
  2         Defendants have not shown good cause to issue a protective order nor that
  3 any harm or prejudice would result if the deposition proceeds. The notice provided
  4 reasonable time to prepare, especially given the witness’s background with, and
  5 sworn testimony about, these issues. Moreover, the topics are specifically tailored
  6 to what the Court said was relevant to the jurisdictional analysis and to what the
  7 parties have been addressing in dozens of meet and confers, discovery motions, and
  8 Court hearings over many months now. These are the core issues in this phase of
  9 the case, and Defendant has been well aware of that for quite some time.
 10 Accordingly, this Court should deny Defendant’s motion.
 11
 12 Dated: May 31, 2023                      Respectfully Submitted
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